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                             UNITED STATES DISTRICT COURT
                             SO UTH ER N D ISTR ICT O F FL O R ID A
                                                                              *

                               CASE NO .          -   ô      -
                                            52 U.S.C.j20511(1)(B)

 U NITED STA TES O F A M ER ICA                                  FILED BY                   D.C .
 VS.
                                                                       02T 2 6 2222
 JO SH U A DA VID LU BITZ ,                                             ANGELA E NOBLE
                                                                       CLERK LLS.DIST CT.
                                                                      s.D.OF FLA..FT.LAUD
                 D efendant.
                                        /

                                            IN D ICTM EN T

         The Grand Jury chargesthat:

                                   G ENER AL A LL EG A TIO N S

         Atalltim esrelevantto thislndictm ent:

             The Sunrise Senior Center,located in Broward County,Florida, was a facility that

  provided servicesforresidents aged tifty-five and older.

             From A ugust13,2022,to A ugust2 1,2022,the Sunzise Senior Centeralso w as utilized

  as an early voting site forthe prim ary election.

         3. The ballotforthe A ugustprim ary election included candidatesforUnited StatesSenate

  and the U nited StatesH ouse of Representatives.

                                              CO UN T 1

         The General Allegations set forth above in paragraphs 1 through 3 are realleged and

  incorporated asthough fully setforth herein.

         On or aboutAugust 17,2022,in Brow ard County,in the Southern D istrictofFlorida,the

  defendant,
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                                          JO SH UA D A VID L U BITZ ,

 in an election forfederaloffice,did knowingly and willfully intim idate,threaten,and coerce,and

 attem ptto intim idate,threaten and coerce a person foraiding any person to vote and to attem ptto

 vote,thatis,whilehe and otherswerebeing assisted by election workers,the defendantstated,in

 sum and substance,should 1killthem One by one orshould 1blow theplace up,and thereafter

 pointed hisfingerand thum b in a gun-like fashion towardselection workers,in violation ofTitle

 52,UnitedStatesCode,Section20511(l)(B).
                                                   A TRU E BILJ,



                                                   FO REPER SON
                       ..                   .'

       .'-
   ,     ,


 /.

     -g.to
 JU A AN TON IO
                ..
                 s y-y.
                 ZA LEZ
             TED STA        A TTO RN EY



  H      C.W A L C yJR .
  A SSI A N T UN ITED STA TES A TTORN EY
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                                 UNITED STATES DISTRICT CO UR T
                                 SOU THERN DISTRICT O F FLO R IDA

UNITED STATES OF AM ERICA                           CASE NO .:           -. a           -       -.

                                                    CER TIFICA TE O F TR IA L A TTO R N EY W
JOSHUA DAVID LUBITZ
                                      /             Superseding C ase lnform ation:
                  Defendant.
CourtDivision(selectone)                            New Defendantts)(YesorNo)
   n M iami r KeyW est L FTP                        N um berofN ew Defendants
   E FTL        L W PB                              Totalnum berofN ew Counts

ldo hereby certify that:
  l. Ihave carefully considered the allegationsofthe indictment,the numberofdefendants,the numberofprobable
      witnessesand the legalcom plexitiesofthelndictment/lnformationattached hereto.
 2.    lam awarethatthe information supplied on thisstatementwillberelied upon bytheJudgesofthisCourtin setting
      theircalendarsandscheduling criminaltrialsunderthemandateoftheSpeedyTrialAct,Title28 U.S.C.j3l61.
       Interpreter:(YesorNo)NO
       Listlanguageand/ordialect:
 4.    Thiscase willtake 2 daysforthe partiesto try.

       Please check appropriate category and type ofoffense listed below :
       (Checkonlyone)                      (Checkonlyone)
       l D 0to 5 days                     r Petty
       11 L 6to 10 days                   r M inor
       lll L 11to20 days                  r M isdemeanor
       IV 1 21to 60 days                  r Felony
       V    R ldaysandover

  6. HasthiscasebeenpreviouslyfiledinthisDistrictCourt?(YesorNo)No
       lfyessJudge                                  Case N o.
       Hasacomplaintbeenfiled in thismatter?(YesorNo)No
       lfyes,M agistrate CaseN o.
  8. DoesthiscaserelatetoapreviouslyfiledmatterinthisDistrictCourt?(YesorNo)No
       Ifyes,Judge                                  CaseN o.
  9. Defendantts)infederalcustody asof
  l0. Defendantts)instatecustodyasof
  11. Rule20 from the                 D istrictof
  l2. lsthisapotentialdeathpenaltycase?(YesorNo)No
  13. Doesthiscase originate from a m atterpending in the N orthern Region ofthe U .S.Attorney's Office
       priorto August8,2014 (M ag.Judge ShaniekM aynard?(YesorNo)No
  14. Doesthiscase originate from a m atterpending in the CentralRegion ofthe U .S.Attorney'sO ffice
       priortoOctober3,2019(Mag.JudgeJaredStrauss?(YesorNolNo


                                                    B                    J-       '
                                                        y:
                                                              arry C.W allace,Jr.
                                                             AssistantUnited S tesAtto      y
                                                             FL BarNo.           27..
                                                                                    8
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                            UN ITED STA TES DISTR IC T C O U RT
                            SO UTH E RN D ISTR ICT O F FLO R IDA

                                       PENALTY SHEET

 D efendantfs N am e; JO SH UA DA V ID LU BITZ



 C ount 1:

  lntim idation in Votinc

  Title52,United StatesCodeeSections20511(1)(B)
  * M ax.Term oflm prisonm ent:5 years
  *M andatoryM in.Term ofImprisonment(ifapplicable):N/A
  * M ax.Supervised R elease:3 years
  * M ax.Fine:$250,000




    ARefers only to possible term ofincarceration,supervised release and fines. Itdoesnotinclude
          restitution,specialassessm ents,paroleterm s,or forfeituresthatm ay be applicable.
